                        BEFORE THE UNITED STATES JUDICIAL
                        PANEL ON MULTIDISTRICT LITIGATION




                                                     MDL Docket No. 2954
IN RE: WELLS FARGO PAYCHECK
PROTECTION PROGRAM LITIGATION




                               SCHEDULE OF ACTIONS

    Case caption              Court           Case No.               Judge
Plaintiff:                   C.D. Cal.   5:20-cv-01337-JGB-   Judge Jesus G. Bernal
BOBBY BORISOV,                                  SHK
AN INDIVIDUAL

Defendants:
WELLS FARGO &
COMPANY; WELLS
FARGO BANK,
N.A.; and Does 1
through 10, inclusive
